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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA

 UNITED STATES OF AMERICA,
                                                            Case No. _________________
                Plaintiff,

 v.

 $20,000 IN U.S. CURRENCY,

                Defendant.


                VERIFIED COMPLAINT FOR FORFEITURE IN REM

       The plaintiff, United States of America, through its attorneys Andrew M. Luger,

United States Attorney for the District of Minnesota, and Craig R. Baune, Assistant United

States Attorney, in a civil cause of action for forfeiture, alleges as follows in accordance

with Supplemental Rule G(2) of the Federal Rules of Civil Procedure:

                                NATURE OF THE ACTION

       1.       This is an action to forfeit and condemn to the use and benefit of the United

States of America $20,000 in U.S. Currency for violations of 21 U.S.C. § 841 et. seq.

                                 THE DEFENDANT IN REM

       2.       The defendant in rem is $20,000 in U.S. Currency (“the Defendant

Property”) seized from a 2017 white Honda Accord bearing Minnesota license plate

JTV692 on November 18, 2022. The Defendant Property is in the custody of the United

States Marshals Service.
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                              JURISDICTION AND VENUE

       3.       Plaintiff brings this action in rem in its own right to forfeit and condemn the

Defendant Property. This Court has jurisdiction over an action commenced by the United

States under 28 U.S.C. § 1345 and over an action for forfeiture under 28 U.S.C. § 1355(a).

       4.       This Court has in rem jurisdiction over the Defendant Property under

28 U.S.C. § 1355(b). Upon the filing of this Complaint, the Plaintiff requests that the Clerk

of Court issue an arrest warrant in rem pursuant to Supplemental Rule G(3)(b)(i), which

the Plaintiff will execute upon the Defendant Property pursuant to 28 U.S.C. § 1355(d) and

Supplemental Rule G(3)(c).

       5.       Venue is proper in the District of Minnesota pursuant to 28 U.S.C.

§ 1355(b)(1) because acts or omissions giving rise to the forfeiture occurred in this District,

and pursuant to 28 U.S.C. § 1395 because the Defendant Property is located in this District.

                                            FACTS

       6.       On November 17, 2022, a Drug Enforcement Administration (DEA)

Minneapolis/St. Paul District Office (MSPDO) Task Force Officer (TFO) Amber Roth

initiated a surveillance operation for Enrique De La Cruz.

       7.       Enrique De La Cruz had paid for and made a few last minute, one-way

reservations with Juan Juarez-Pena, who was the target of an ongoing narcotics

investigation. Late at night on November 16, 2022, De La Cruz and Juarez-Pena flew into

the Minneapolis/St. Paul International Airport from San Francisco, California.

       8.       About midnight, De La Cruz checked into a hotel near the airport in

Bloomington, Minnesota. TFO Roth is familiar with the hotel as a location of drug activity.

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TFO Roth confirmed with hotel staff that De La Cruz booked room 402 for three nights

(November 16-18) and he checked in registering with the room a 2017 white Honda Accord

bearing Minnesota license plate JTV692.

       9.       In the early morning hours of November 18, 2022, TFO Roth requested TFO

Irvin and his K9 partner Zippo to conduct an open air narcotics sniff of the registered Honda

Accord vehicle parked outside the hotel. Zippo gave a positive alert to the odor of narcotics

emanating from the vehicle.

       10.      Thereafter, law enforcement officers-maintained surveillance of De La Cruz

and the vehicle. De La Cruz traveled from Bloomington, Minnesota to Rochester,

Minnesota and briefly met with an individual. Investigators observed the individual get

into De La Cruz’s vehicle with a white plastic bag before exiting the vehicle without the

bag shortly thereafter.

       11.      It is common practice for individuals trafficking narcotics and narcotics

proceeds to meet for short periods of time with people inside of a vehicle to avoid law

enforcement detection and conduct their business privately.

       12.      Based on the suspected narcotics transaction, Minnesota State Patrol stopped

the vehicle as it travelled back north toward Bloomington. Trooper Rauenhorst utilized his

narcotics trained K-9 to complete a sniff outside of De La Cruz’s vehicle. This second K9

also gave a positive alert to the odor of narcotics. Trooper Rauenhorst searched the vehicle

and found under the front passenger seat two white plastic gas station bags containing four

rubber-banded bundles of U.S. Currency.



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       13.    No narcotics were found in the vehicle, but a K-9 gave a positive alert to the

presence of narcotics emanating directly from the money and an ION scan was conducted

which yielded a positive result for cocaine.

       14.    Also on November 18, 2022, Bloomington Police executed a search warrant

on room 402, registered to De La Cruz. Juarez-Pena was arrested for possession of cocaine.

                              BASIS FOR FORFEITURE

       15.    The defendant $20,000 in U.S. Currency is subject to forfeiture pursuant to

21 U.S.C. § 881(a)(6) because it was furnished or intended to be furnished in exchange for

a controlled substance, constitutes proceeds traceable to such an exchange, or was used or

intended to be used to facilitate a violation of the Controlled Substances Act.




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                                 CLAIM FOR RELIEF

       16.    The plaintiff requests that the Court issue a warrant for the arrest and seizure

of the Defendant in rem, that notice of this action be given to all persons who reasonably

appear to be potential claimants of interests in the Defendant in rem, that the Defendant in

rem be forfeited and condemned to the United States of America, that the plaintiff be

awarded its costs and disbursements in this action, and for such other and further relief as

this Court deems proper and just.

Dated: 7/29/2024                                  ANDREW M. LUGER
                                                  United States Attorney

                                                   s/Craig Baune
                                                  BY: CRAIG R. BAUNE
                                                  Assistant U.S. Attorney
                                                  Attorney ID No. 331727
                                                  600 United States Courthouse
                                                  300 South Fourth Street
                                                  Minneapolis, MN 55415
                                                  Phone: 612-664-5600
                                                  Craig.baune@usdoj.gov




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                                     VERIFICATION

       I, Michael H. Cohen , verify and declare under penalty of perjury as follows:

       I am a Special Agent with the U.S. Drug Enforcement Administration (“DEA”). I

have been a Special Agent since 2015. Over 9 years, I have had significant experience with

narcotics interdiction. I have read the foregoing Verified Complaint In Rem and know the

contents thereof, and the matters contained in the Verified Complaint are true to my own

knowledge, except that those matters not within my knowledge are alleged on information

and belief, and I believe those matters to be true.

       The sources of my knowledge and information and the grounds of my belief are the

official files and records of the United States, information provided to me by other law

enforcement agencies and Officers, and information I have learned by reviewing reports

prepared by other law enforcement agencies and Officers, as well as my investigation of

this case, together with others, as a DEA Special Agent.

       I hereby verify and declare under penalty of perjury that the foregoing is true and

correct.


Dated: 7/26/2024
                                                  s/Michael Cohen
                                                  MICHAEL H. COHEN
                                                  Special Agent
                                                  U.S. Drug Enforcement
                                                  Administration




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